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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 American Foreign Service Association, et al.,

        Plaintiffs,
                                                   Case No. 1:25-cv-00352
 v.

 President Donald J. Trump, et al.,

        Defendants.




                  PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

       Plaintiffs American Foreign Service Association, American Federation of Government

Employees, and Oxfam America (collectively, “Plaintiffs”), by and through their attorneys,

respectfully submit this Motion for Summary Judgment (the “Motion”). Plaintiffs base this motion

on Federal Rule of Civil Procedure 56, the attached Memorandum of Law, the exhibits and

Statement of Material Facts in support of the memorandum, and the concurrently-filed Proposed

Order, as well as all other pleadings and papers filed in this action, oral argument of counsel, and

any other matters that may come before the Court.
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Dated: March 10, 2025                 Respectfully submitted,

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